Case 3:17-cv-00072-NKM-JCH Document 566-10 Filed 09/26/19 Page 1 of 6 Pageid#:
                                   6750




                        EXHIBIT J
         Case 3:17-cv-00072-NKM-JCH Document 566-10 Filed 09/26/19 Page 2 of 6 Pageid#:
                                            6751



From:                                  Barbara Bibas <bbibas@idsinc.com>
Sent:                                  Wednesday, August 14, 2019 8:07 PM
To:                                    Eli Mosley
Cc:                                    iDS_SINKS-02678
Subject:                               RE: Sines v Kessler Kline Discovery


Hello,

Thank you very much for shipping your phone. Do you have a tracking number for the shipment? If so, would you
please send it to us?

Also, would you please fill in the passwords for each of the accounts listed in the below chart as well as a PIN, if any, for
the iPhone. Finally, please send us the computer so that we can image it as well. Let us know if you have any questions.

Here’s the chart for the passwords. Please provide them at your earliest convenience.

 Platform/Device                  Username                            Password
 Facebook                         Elliott Kline
 Gab.ai                           @EliMosley
 Twitter                          @thatelimosley
 Twitter                          @NotElimosley
 Twitter                          @Elimosleyie
 Twitter                          @Eli_mosley_
 Twitter                          @Sheli_shmosley
 Twitter                          @EliMosley
 Twitter                          @EliMosleyISBack
 Twitter                          @EliMosleyOH
 iPhone 5
 Broken PC

Thank you,
Barbara
‐‐‐‐
Barbara Bibas
Project Assistant
Direct: 714.581.4830




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https://www.chambersandpartners.com/12788/2817/editorial/58/1#22770855_editorial
         Case 3:17-cv-00072-NKM-JCH Document 566-10 Filed 09/26/19 Page 3 of 6 Pageid#:
                                            6752
From: Eli Mosley <eli.f.mosley@gmail.com>
Sent: Wednesday, August 14, 2019 10:14 AM
To: Barbara Bibas <bbibas@idsinc.com>
Cc: iDS_SINKS‐02678 <ids_sinks‐02678@idsinc.com>
Subject: Re: Sines v Kessler Kline Discovery


[EXTERNAL SENDER]

Hello,

I just wanted to let you know that I sent out the phone this afternoon during lunch. The PC I am still working on and I'm
not even sure it still will turn on.

Those usernames all look right except the last one I believe is @EliMosleyOH.

Thank you,

On Fri, Aug 9, 2019 at 1:16 PM Barbara Bibas <bbibas@idsinc.com> wrote:

 Hello Mr. Kline,



 Thank you for providing your Exhibit A to the Court’s Stipulation and Order. I’ve attached it above for your reference.



 Would you please assist us by confirming or correcting the spelling of your accounts in the below chart and also by
 providing passwords where indicated in the highlighted cells? We would also like to know the make and model of the
 computer.




  Platform/Device               Username                       Password
  Facebook                      Elliott Kline
  Gab.ai                        @EliMosley
  Twitter                       @thatelimosley
  Twitter                       @NotElimosley
  Twitter                       @Elimosleyie
  Twitter                       @Eli_mosley_
  Twitter                       @Sheli_shmosley
  Twitter                       @EliMosley
  Twitter                       @EliMosleyISBack
  Twitter                       @EliMosleyOff
  iPhone 5
       Case 3:17-cv-00072-NKM-JCH Document 566-10 Filed 09/26/19 Page 4 of 6 Pageid#:
                                          6753
 Broken PC




In order to collect from the mobile device and computer, we ask that you ship them to our office in Washington,
DC. You may send them to Ken Kim’s attention at the following address for delivery M – F during regular business
hours. We recommend that you obtain a tracking number when sending the devices.




          iDiscovery Solutions

          ATTN: Ken Kim

          3000 K Street NW, Suite 330

          Washington, DC 20007

          Phone: 202.249.7860



Please let us know if you have any questions.




Thank you,

Barbara

‐‐‐‐

Barbara Bibas

Project Assistant

Direct: 714.581.4830




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https://www.chambersandpartners.com/12788/2817/editorial/58/1#22770855_editorial




From: Ken Kim <kkim@idsinc.com>
Sent: Friday, August 9, 2019 10:03 AM
      Case 3:17-cv-00072-NKM-JCH Document 566-10 Filed 09/26/19 Page 5 of 6 Pageid#:
                                         6754
To: Eli Mosley <eli.f.mosley@gmail.com>
Cc: Barbara Bibas <bbibas@idsinc.com>
Subject: RE: Sines v Kessler Kline Discovery



Mr. Kline:



Thank you for your email. I have copied my colleague Barbara Bibas who will be working with you to gather the
necessary information to proceed with the collections.



Regards,

Ken



Kenneth Kim

Project Manager

Mobile: 267.847.4876




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https://www.chambersandpartners.com/12788/2817/editorial/58/1#22770855_editorial




From: Eli Mosley <eli.f.mosley@gmail.com>
Sent: Friday, August 9, 2019 12:58 PM
To: Ken Kim <kkim@idsinc.com>
Subject: Sines v Kessler Kline Discovery



[EXTERNAL SENDER]

Hello Ken,
     Case 3:17-cv-00072-NKM-JCH Document 566-10 Filed 09/26/19 Page 6 of 6 Pageid#:
                                        6755
I am reaching out to you so that I may get my phone imaged for the discovery for the case. What steps must I take to
get you guys the phone in a timely manner?

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in error, please notify the sender immediately by reply e‐mail and promptly destroy all electronic and printed copies of
this communication and any attached documents.
